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                Exhibit B
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      IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

 COLUMBUS LIFE INSURANCE
 COMPANY,
                                                  C.A. No. N20C-06-013 PRW CCLD
                    Plaintiff,
                                                  JURY TRIAL DEMANDED
              v.

 WELLS FARGO BANK, N.A., as Securities
 Intermediary,

                    Defendant.

              NOTICE OF FILING OF NOTICE OF REMOVAL

      PLEASE TAKE NOTICE that on June 22, 2020, defendant Wells Fargo

Bank, N.A., as Securities Intermediary, filed a notice of removal of the above-

captioned matter in the United States District Court for the District of Delaware. A

true and correct copy of that Notice is attached hereto.

Dated: June 22, 2020                          K&L GATES LLP

                                              /s/ Steven L. Caponi
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